        Nos. 24-3137 (lead), 24-3388, 24-3415, 24-3442, 24-3469


        IN THE UNITED STATES COURT OF APPEALS FOR
                       THE EIGHTH CIRCUIT
            –––––––––––––––––––––––––––––––––––––––––––––
                        CUSTOM COMMUNICATIONS, INC.,
                         D/B/A CUSTOM ALARM, ET AL.,
                                 Petitioners,
                                     v.
                     FEDERAL TRADE COMMISSION,
                               Respondent.
                             ---------------------
             SERVICE CONTRACT INDUSTRY COUNCIL, ET AL.,
                     Amici on Behalf of Petitioners.
            –––––––––––––––––––––––––––––––––––––––––––––
              On Petitions for Review of a Final Rule of the
             Federal Trade Commission (RIN 3084—AB60)
            –––––––––––––––––––––––––––––––––––––––––––––
          BRIEF OF THE FEDERAL TRADE COMMISSION
            –––––––––––––––––––––––––––––––––––––––––––––
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                      SUMMARY OF THE CASE

     The Federal Trade Commission modernized its 1973 Negative

Option Rule to address widespread evidence that sellers are using

unfair and deceptive practices when marketing subscriptions with

recurring charges. The amended Rule does not limit or prohibit

recurring charges but is tailored to prevent four specific, well-

documented forms of abuse: material misrepresentations, omission of

key facts, enrollment without consent, and unnecessary obstacles to

cancellation.

     Petitioners challenge the amended Rule based principally on a

false premise that the Commission cannot adopt rules affecting more

than one industry. Petitioners’ argument contravenes the statutory

text, case law, and decades of historical practice. Given the Rule’s

importance to consumers, the Commission believes that oral argument

would be beneficial, and that 20 minutes per side would be sufficient.
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                           INTRODUCTION

     In recent years, sellers have expanded their use of recurring

payment models in industries ranging from dating services to satellite

radio to beer. In 2024, the Federal Trade Commission completed a five-

year rulemaking process to address prevalent abuse of “negative option”

features—contractual provisions allowing a seller to impose recurring

charges for goods and services unless the consumer takes affirmative

steps to cancel the arrangement.

     Although negative option programs can benefit sellers and

consumers, many consumers are enrolled unwittingly and go months or

years without discovering how much money they are losing through

recurring charges. And once consumers discover the charges and try to

cancel a subscription they signed up for online, they often face

unnecessary obstacles from sellers who force them to endure multiple

phone calls, long hold times, and countless automated menus. Studies

show that most Americans pay hundreds annually for unwanted

subscriptions.

     The Rule does not prohibit or restrict the use of negative option

programs; it simply adopts four common-sense measures to prevent
abuse: sellers must (1) avoid material misrepresentations; (2) disclose

important information, including how much and when a consumer will

be charged and how to cancel; (3) obtain express informed consent to the

recurring charges; and (4) provide a cancellation mechanism at least as

easy to use as the method the consumer used to enroll.

     Petitioners challenge the Rule based on a fallacy that the FTC

cannot adopt regulations affecting “multiple industries” or “sectors of

the economy.” Br.2. The statute authorizing Commission rulemaking

imposes no such restriction. Tellingly, the Negative Option Rule itself

has applied to all industries within the FTC’s jurisdiction for 50 years.

And it’s not alone: the Commission has a long history of cross-industry

rulemaking.

     Congress gave the Commission broad discretion to issue rules

defining unfair and deceptive conduct with specificity and to issue

requirements to prevent that conduct from recurring. 15 U.S.C.

§ 57a(a)(1)(B). Here, the Commission found that negative option

programs present four specific types of wrongdoing common across

industries: misrepresentations, omission of material facts, enrollment

without consent, and onerous barriers to cancellation. These findings



                                    2
rest on a long record of enforcement actions, tens of thousands of

consumer complaints per year, and numerous studies. The Commission

carefully tailored the Rule to define the prevalent misconduct and

prevent it from recurring.

                               JURISDICTION

        This Court has jurisdiction to review the Rule under 15 U.S.C.

§ 57a(e)(1)(A). Petitioners filed petitions for review in four circuits on

October 22, 2024, before the Rule’s publication in the Federal Register.

App.384 (Add.1). The Commission thereafter transmitted the petitions

to the Judicial Panel on Multidistrict Litigation, which ordered that the

petitions be consolidated in this Court. Petitioners then filed an

additional, “protective” petition for review in this Court on December 4,

2024.

                          STATEMENT OF ISSUES

        1.     Did the Commission properly exercise its rulemaking

authority under 15 U.S.C. § 57a?

             • Katharine Gibbs Sch. (Inc.) v. FTC, 612 F.2d 658, 662 (2d
               Cir. 1979).

             • Am. Fin. Servs. Ass’n v. FTC, 767 F.2d 957, 984 (D.C. Cir.
               1985).




                                       3
     2.     Did the Commission reasonably explain the Rule’s

requirements and scope?

          • Am. Fin. Servs., 767 F.2d at 985-89.

          • Penn. Funeral Dirs. Ass’n v. FTC, 41 F.3d 81, 86-90 (3d Cir.
            1994).

     3.     Did the Commission comply with procedural requirements

under 15 U.S.C. § 57b-3, and if not, should the Rule be vacated when

petitioners do not demonstrate that any alleged errors were harmless?

          • Shinseki v. Sanders, 556 U.S. 396, 406 (2009).

                      STATEMENT OF THE CASE

A.   The Federal Trade Commission Act

     1. The FTC Act forbids “unfair or deceptive acts or practices” and

“empower[s] and direct[s]” the Commission, a bipartisan expert agency,

to prevent them. 15 U.S.C. § 45(a). A practice is “unfair” when it “causes

or is likely to cause substantial injury to consumers which is not

reasonably avoidable by consumers themselves and not outweighed by

countervailing benefits to consumers or to competition.” 15 U.S.C.

§ 45(n). And a “deceptive” practice is one that involves a representation

that is material and likely to mislead reasonable consumers. FTC v.

Tashman, 318 F.3d 1273, 1277 (11th Cir. 2003). The Commission


                                     4
pursues its mandate through administrative adjudication, id. § 45(b),

federal-court litigation, id. § 53(b), and rulemaking, id. § 57a.

     Section 18 of the FTC Act, 15 U.S.C. § 57a, is a “broad delegation

of discretionary authority to the FTC to define unfair practices” by rule.

Am. Fin. Servs. Ass’n v. FTC, 767 F.2d 957, 969 (D.C. Circ. 1985).

Section 18 authorizes the Commission to adopt “rules which define with

specificity acts or practices which are unfair or deceptive,” along with

“requirements prescribed for the purpose of preventing such acts or

practices.” 15 U.S.C. § 57a(a)(1)(B). The Commission may enforce these

rules in civil actions seeking injunctive relief, id. § 53(b), and monetary

redress for injured consumers, id. § 57b(a)-(b). Civil penalties are

available if the defendant violated a rule with actual or implied

knowledge that its practices were prohibited. Id. § 45(m)(1)(A).

     Congress enacted Section 18 as part of the Magnuson-Moss

Warranty-FTC Improvement Act of 1974, Pub. L. 93-637, 88 Stat. 2183

(1975). Before then, the Commission relied upon 15 U.S.C. § 46(g) to

promulgate dozens of rules defining conduct as unfair or deceptive. See

89 FR 38342, 38349 (May 7, 2024) (summarizing this history).

Uncertainty arose in the early 1970s, when a district-court decision—



                                     5
later overturned—concluded that § 46(g) did not confer substantive

rulemaking authority. Nat’l Petroleum Refiners Ass’n v. FTC, 340 F.

Supp. 1343 (D.D.C. 1972), rev’d 482 F.2d 672 (D.C. Cir. 1973). In

response, Congress adopted Magnuson-Moss and “reaffirm[ed] the

legislative rulemaking authority of the Commission.” S. Rep. 93-151 at

32 (May 14, 1973). Magnuson-Moss simultaneously directed the

Commission to adopt new rules governing consumer warranties, Pub. L.

93-637 §§ 102-03, 109-10.1

     Congress emphasized that rulemaking is “an important power by

which the Commission can fairly and efficiently pursue its important

statutory mission.” S. Conf. Rep. 93-1408, at 31 (Dec. 18, 1974).

Rulemaking provides “obvious advantages” over case-specific

adjudication by (1) offering affected persons an “opportunity to be

heard”; (2) creating “uniform[]” standards providing notice to the public;

and (3) giving regulated parties an opportunity for judicial review. H.R.

Rep. 93-1107 at 32 (Jun. 13, 1974).




 1
   Petitioners claim that Magnuson-Moss resulted from congressional
“backlash” (Br.8). They confuse that 1975 statute, which enacted
Section 18, with later laws. See infra 8.

                                      6
     Magnuson-Moss was one example of “congressional

experimentation” with a “hybrid” rulemaking model more demanding

than the Administrative Procedure Act’s informal rulemaking

procedures but less stringent than the APA’s formal rulemaking

procedures, which had fallen out of use. See 32 Federal Practice &

Procedure (Wright and Miller) § 8187 (2d ed. 2024). Congress recognized

that FTC rules could have “pervasive and deep effect,” H.R. Rep. 93-

1107 at 45, and thus required the Commission to clear additional

procedural hurdles. Among other things, the Commission must “stat[e]

with particularity the … reason for the proposed rule” and conduct an

“informal hearing” as part of any Section 18 rulemaking. 15 U.S.C.

§ 57a(b)(1); see 88 Stat. at 2193.

     Because Magnuson-Moss departed from previous Commission

rulemaking practice, Congress limited its effect. Congress provided that

the new rulemaking provisions “shall not affect the validity of any

current rule,” 88 Stat. at 2198, which included the original Negative

Option Rule promulgated in 1973. See 38 FR 4896 (Feb. 22, 1973). Also,

Congress authorized the Commission to finish using ordinary APA

procedures for rules that were “substantially completed” at the time of



                                     7
Magnuson-Moss. 88 Stat. at 2198. That provision applied to several

significant rules. See, e.g., Mail Order Merchandise Rule, 40 FR 49492

(Oct. 22, 1975) (requiring sellers of merchandise via mail-order to have

reasonable basis for stated shipping times); Franchise Rule, 43 FR

59614 (Dec. 21, 1978) (requiring disclosure of material information to

franchisees); Holder Rule, 40 FR 53506 (Nov. 18, 1975) (preserving

certain defenses in any “consumer credit contract”).

     2. Five years after Magnuson-Moss, Congress added more

requirements for Commission rulemaking. This effort followed backlash

to the Commission’s attempt to restrict advertisements aimed at young

children. See S. Rep. 96-500 at 2 (Dec. 14, 1979). In 1980, Congress

required the Commission to publish an advance notice of proposed

rulemaking (ANPRM) and submit that notice to Congress. 15 U.S.C.

§ 57a(b)(2). Congress also required the Commission to conduct a

preliminary regulatory analysis accompanying a notice of proposed

rulemaking (NPRM), and then a final regulatory analysis

accompanying a final rule. See 15 U.S.C. § 57b-3(b)(1)-(2). But the

regulatory analysis requirement does not apply to “any amendment” to

an existing rule unless the amendment meets one of several specified



                                    8
criteria, including having an annual economic effect of $100 million or

more. Id. § 57b-3(a)(1).

     In the 1980s, FTC rulemaking activity began to slow down

because the Commission adopted unwieldy rulemaking procedures

beyond what Congress required. For example, Magnuson-Moss required

cross-examination for “disputed issues of material fact that [are]

necessary to resolve,” 15 U.S.C. § 57a(c)(2)(B), but the Commission

allowed cross-examination on “any points” of “policy or opinion.”

Recommendations of the Administrative Conference of the United

States, 44 FR 38817, 38821-22 (Jul. 3, 1979). Hearings “seldom

produced useful factual information” but spawned “massive and poorly

organized” administrative records. Id.

     Still, the Commission maintained an active rulemaking agenda.

For example, in 1984, the Commission promulgated the Credit Practices

Rule, 16 C.F.R. Pt. 444, which applies to all consumer credit

transactions (except real estate), and forbids finance companies and

retailers from committing several unfair practices. See Am. Fin. Servs.,

767 F.2d at 991 (upholding Credit Practices Rule). In 2011, the

Commission adopted the Business Opportunity Rule, 16 C.F.R. Pt. 437,



                                    9
which requires sellers of business opportunities, such as work-at-home

programs, to make disclosures and avoid misrepresentations. The

Commission also has amended many rules under Section 18, such as in

2014, when the Commission amended the Mail Order Rule to clarify

that it covers all internet merchandise orders. 79 FR 55615 (Sep. 17,

2014).

       In 2021, the Commission streamlined its rulemaking procedures

to eliminate “[s]elf-imposed red tape,” which had “reinforced the myth

that Section 18 rulemakings required elaborate, interminable judicial

processes instead of straightforward public participation.” 86 FR 38542,

38551-52 (July 22, 2021). 2 The Commission renewed its rulemaking

efforts using these new procedures. See, e.g., Consumer Reviews and

Testimonials Rule, 89 FR 68034 (Aug. 22, 2024) (prohibiting false

reviews and purchase or suppression of customer reviews);

Impersonation Rule, 89 FR 15017 (Mar. 1, 2024) (forbidding commercial

impersonation of government, businesses, or their agents).




 2
     Petitioners do not challenge the amended procedures.

                                    10
B.   Unfair and deceptive recurring charges

     The Commission first promulgated a rule addressing negative

option programs in 1973. The original rule forbade unfair and deceptive

practices in connection with “prenotification plans” in which sellers

send periodic notices offering books, flowers, apparel, or other

merchandise to consumers and then send—and charge for—the

merchandise unless consumers decline. App.385-86 (Add.2-3). The rule

required sellers to disclose key terms (including consumers’ rights to

cancel or reject goods), give consumers adequate time to respond to

notices, and promptly honor cancellation requests. App.386 (Add.3).

     Convinced that the original rule had become outdated, the

Commission set out in 2019 to tackle the ubiquitous problem of

recurring charges that consumers never authorized or no longer want.

App.1. Thanks to advances in e-commerce, recurring-subscription

models have spread across industries, including media services, meal-

preparation kits, shaving products, and beer and wine. App.392 &

nn.102-103 (Add.9). Studies show that more than half of Americans

have incurred recurring charges without consent. App.391 (Add.8).

Nearly two-thirds of consumers pay more than $50 monthly for



                                    11
subscriptions they no longer want. Id. One survey found that unwanted

charges take three months to cancel on average. Id. These problems

have generated a “burgeoning industry offering to help consumers

identify and cancel their unwanted subscriptions.” App.390 (Add.7).

      Negative option programs can benefit consumers by providing

convenient, uninterrupted access to goods and services, often at lower

prices than if the consumer had to make separate purchases each time.

App.385 (Add.2). But consumers are harmed if sellers charge them for

products they never ordered, secure their consent through deception,

omit key facts, or make it overly difficult to cancel. App.385, 389-90

(Add.2, 6-7). The FTC receives tens of thousands of complaints along

these lines each year, resulting in dozens of state and FTC enforcement

actions. Id.

      Negative option programs are often plagued with misleading

claims about all aspects of the transaction. App.391-92, 399, 401-03

(Add.8-9, 16, 18-20). Deception occurs through overt claims and

omission of key facts, including the recurring nature of the charges,

cancellation deadlines, and refund rights. App.392 (Add.9). Even where




                                    12
sellers disclose these facts, they often do so in inscrutable fine print or

after the charges have begun. App.404 (Add.21).

     Moreover, sellers often fail to secure consumers’ express consent

to recurring charges. App.392 (Add.9). Sellers promise free trials or

discounted products, hiding that consumers will be enrolled in costly

memberships unless they cancel before the trial ends. App.391-92, 407-

08, 410 (Add.8-9, 24-25, 27). The harms multiply over time, as

consumers often fail to notice the unauthorized recurring charges until

encountering them on a bank statement months later. App.390-91 &

n.66, App.403, 410 (Add.7-8, 20, 27).

     Finally, sellers frequently adopt byzantine cancellation procedures

to trap consumers in unwanted subscriptions. App.392, 412-18 (Add.9,

29-35). Many Americans have wasted hours on the phone attempting to

cancel subscriptions while enduring disconnected calls, interminable

hold times, and aggressive upsells. Id. & nn.361-375, 401, 416-17, 424,

437. Other times, sellers make consumers hunt for cancellation terms

buried in fine print or deep within the sellers’ websites. App.417 &

n.425 (Add.34). Fitness centers particularly are notorious for making

consumers cancel in person or by certified letter when they signed up



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online. App.429-30 (Add.46-47). Importantly, honest businesses also

suffer when consumers hesitate to sign up for free trials or negative

option-based products for fear of being trapped. App.404 (Add.21).

     Despite the efforts of federal and state enforcers to combat unfair

and deceptive recurring charges through case-specific enforcement, the

Commission found that amending the Negative Option Rule was

necessary to protect consumers and the public. App.385, 389-90 (Add.2,

6-7). A bipartisan coalition of state attorneys general supported the

rulemaking effort from its inception. See App.7-19 (comment from 23

state AGs); App.90-109 (comment from 26 AGs).

C.   Amendments to the Negative Option Rule

     The Commission’s 2019 ANPRM sought comment on whether to

“expand the scope and coverage” of the Negative Option Rule. App.2.

The existing rule failed to “reach most modern negative option

marketing,” and case-by-case enforcement had proven insufficient to

deter “problematic negative option practices.” Id. The Commission

observed that “[t]he existing patchwork of laws and regulations does not

provide industry and consumers with a consistent legal framework

across different media.” App.4.



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     Based on comments responding to the ANPRM, the NPRM

proposed extending the scope of the Negative Option Rule to “all forms

of negative option marketing in all media.” App.26. The Commission

found that unfair and deceptive practices were prevalent across

industries based on “complaint data, studies, survey results, and law-

enforcement actions.” App.35. The NPRM included proposals to forbid

misrepresentations, require disclosures and advance consent, and

mandate that consumers be permitted to cancel through simple

mechanisms. App.36-39.

     The Commission determined that the proposal largely restated

“existing requirements” in “other rules and statutes,” App.36, and

therefore would not generate more than $100 million in annual

economic effects. App.41. For that reason, the NPRM did not include a

preliminary regulatory analysis. See id. (“compliance with the proposed

requirements should not create any substantial added burden,” as

sellers were already obligated to “provide some sort of disclosures,

follow consent procedures, and offer cancellation mechanisms”). But the

Commission invited comments, evidence, and data on the proposed




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rule’s “economic effects,” its “likely effectiveness,” and whether “other

approaches” or “alternatives” would be more effective. App.40-41.

     The Commission received 16,000 public comments in response to

the NPRM. App.388. In early 2024, a neutral presiding officer

conducted a three-day informal hearing at which petitioners IAB and

NCTA presented written submissions, expert reports, and oral

testimony (with cross-examination) on the proposed rule’s costs and

benefits. App.378-81. The presiding officer issued a recommended

decision finding that the proposed rule’s “incremental benefits and costs

over the existing law” would exceed $100 million annually. App.382-83.

     After considering the comments and evidence from the informal

hearing, the Commission issued the final Rule. App.384-453 (Add.1-70).

The Commission reaffirmed its finding that four types of “unfair or

deceptive acts or practices in the negative option marketplace are

prevalent”: (1) “material misrepresentations … to induce consumers to

enter into negative option programs”; (2) “failure to provide important

information … prior to billing consumers”; (3) “lack of informed

consumer consent”; and (4) “failure to provide consumers with a simple

cancellation method.” App.389 (Add.6).



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     The Rule accordingly contains four core requirements, all “[i]n

connection with promoting or offering for sale any good or service with a

Negative Option Feature,” App.446-47 (Add.63-64):

     • Misrepresentations: Section 425.3 bars sellers from

        misrepresenting material facts, including cost, negative option

        feature terms, and other information about the goods or

        services.

     • Disclosures: Section 425.4 requires sellers to clearly and

        conspicuously disclose all material terms, including the amount

        and frequency of the charges and their recurring nature, the

        deadlines for consumers to prevent or stop the charges, and

        how to cancel.

     • Consent: Section 425.5 requires sellers to obtain the

        consumer’s express informed consent to the negative option

        feature, separate from the rest of the transaction.

     • Cancellation: Section 425.6 requires sellers to provide “a

        simple mechanism” that allows consumers to cancel the

        negative option feature and immediately stop all recurring

        charges. The cancellation mechanism “must be at least as easy



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        to use as the mechanism the consumer used to consent to the

        Negative Option Feature,” and must allow consumers to cancel

        “through the same medium the consumer used to consent.” If a

        consumer consented in person, the seller must provide either a

        phone number or an electronic medium to cancel.

The Commission decided not to adopt several other proposed

requirements. App.384, 442-43 (Add.1, 40-41).

     The Commission also issued a final regulatory analysis, which

addressed the presiding officer’s recommended decision, the public

comments, and the testimony and submissions from the informal

hearing. App.425-42 (Add.42-59). The Commission reaffirmed its earlier

finding that the Rule would impose less than $100 million in additional

costs per year but found that the benefits of the Rule would run much

higher. App.427 (Add.44).

     Although the Rule became effective in January 2025, the

Commission deferred the compliance dates for most of the new

requirements until May 14, 2025. App.384, 424-25 (Add.1, 41-42).

Petitioners (an individual business and various associations) sought

review of the Rule in this Court and three other circuits. After the



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petitions were consolidated in this Court, petitioners sought a stay of

the Rule, which this Court denied.

                     SUMMARY OF ARGUMENT

     I. Section 18 of the FTC Act requires the Commission to “define

with specificity” unfair or deceptive practices “in or affecting

commerce.” The Commission satisfied this requirement by defining

particular conduct, all related to agreements with negative option

features, as unfair or deceptive. Petitioners erroneously contend that

the statute’s specificity requirement limits the economic scope of FTC

rulemaking, but the statute’s plain text links the “specificity”

requirement with the Commission’s definition of “acts or practices.” The

only limit Congress placed on economic scope is that rules must address

acts or practices “in or affecting commerce,” which this Rule

indisputably does.

     Petitioners stake their case on a theory that the FTC Act forbids

the Commission from regulating across multiple industries. That

argument has no basis in the statutory text, finds no support in

precedent, and contradicts decades of Commission practice

promulgating cross-industry rules—many of which Congress has



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endorsed. Petitioners’ argument that the Rule is impermissibly vague,

meanwhile, relies on a misleading definition of specificity and fails on

its own terms. Petitioners identify no genuine ambiguities in the Rule

text, and they ignore the Commission’s detailed guidance clarifying

each requirement.

     II. Congress authorized the Commission to prohibit unfair or

deceptive practices within its jurisdiction even if the relevant conduct is

also subject to other laws. Petitioners incorrectly claim that the Rule

“overrides” statutes, Br.49, but they cite no statutes that forbid the

Commission from regulating negative option programs. In fact, two

statutes petitioners cite explicitly do not “limit the authority of the

Commission under any other provision of law.” 15 U.S.C. §§ 6105(c),

8404(c).

     Petitioners further claim that Section 18 would violate the

nondelegation doctrine if it allowed the Commission to override

statutes, but the Rule overrides no statutes. In any event, the FTC Act’s

unfair-or-deceptive standard provides an intelligible principle and is

therefore constitutional.




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     III. The Rule rests on copious evidence—including dozens of

enforcement actions, tens of thousands of consumer complaints,

comments from industry and consumer groups, and economic studies—

showing that unfair and deceptive negative option practices are

prevalent. The Commission reasonably found that these abuses could

arise in any industry, since they are a function of common marketing

strategies rather than the underlying goods or services. The

Commission’s prevalence findings are not judicially reviewable, see 15

U.S.C. § 57a(e)(5)(C), but those findings easily pass muster under the

arbitrary-and-capricious standard. Most important, the FTC Act does

not require the Commission to show that the prevalence of unfair or

deceptive practices meets a certain numerical threshold, as petitioners

contend.

     The Commission properly found that the Rule’s requirements are

the most effective way to prevent the unfair or deceptive conduct and

reasonably explained why. For example, in response to evidence of

sellers trapping consumers with recurring charges, the Rule (§ 425.6)

requires sellers to provide cancellation mechanisms that are at least as

easy to use as the mechanisms for enrollment. At the same time, the



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Rule strikes an appropriate balance by preserving sellers’ ability to

authenticate consumers’ identities, confirm their intent to cancel, alert

them about the consequences, and offer discounts. Likewise, the Rule

(§ 425.5) reasonably requires sellers to obtain consumers’ express

informed consent to the negative option in response to the danger of

consumers being inadvertently enrolled.

     IV. Petitioners argue the Commission failed to follow procedural

requirements by not conducting a preliminary regulatory analysis. The

statute did not require such an analysis to accompany the NPRM

because the Commission estimated that the proposed rule’s annual

economic effects would not surpass the statutory threshold. Petitioners

argue that the Commission should have conducted a preliminary

regulatory analysis after the informal hearing. But nothing in the FTC

Act requires a preliminary regulatory analysis at that late stage.

Regardless, petitioners have not carried their burden to show that any

procedural errors caused them prejudice. Petitioners had ample

opportunity to submit evidence on the Rule’s costs and benefits, and

they have not shown that a preliminary regulatory analysis would have

made a difference.



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     V. Finally, should this Court agree with any of petitioners’

arguments, it should tailor any remedy. The Rule includes a

severability provision to preserve the remainder of the Rule if any

portion is invalid. And the Court should limit any relief to parties that

have established standing.

                       STANDARD OF REVIEW

     The Court should deny the petitions unless it determines that the

Rule exceeds the Commission’s statutory authority, is arbitrary and

capricious, lacks substantial evidence, or fails to observe required

procedures. 15 U.S.C. § 57a(e)(3); 5 U.S.C. § 706(2)(A)-(D). The Court

must “tak[e] due account of the rule of prejudicial error,” 15 U.S.C.

§ 57a(e)(3), which requires petitioners to bear “the burden of showing …

prejudice.” Shinseki v. Sanders, 556 U.S. 396, 409 (2009) (cleaned up).

     Under Section 18 of the FTC Act, the Commission’s “factual

determinations” are governed by the substantial-evidence test while all

other determinations are governed by the arbitrary-and-capricious test.

Consumers Union of U.S. v. FTC, 801 F.2d 417, 422 (D.C. Cir. 1986)

(Scalia, J.). The two tests, however, “are one and the same insofar as

the requisite degree of evidentiary support is concerned.” Id. (cleaned



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up). The Commission’s decision must be “reasonable and reasonably

explained,” but the Court “may not substitute its own policy judgment

for that of the agency.” FCC v. Prometheus Radio Proj., 593 U.S. 414,

423 (2021).

                              ARGUMENT

I.   The Commission Properly Exercised Its Statutory
     Authority to Issue the Rule.

     Section 18 of the FTC Act authorizes the Commission to “prescribe

… rules which define with specificity acts or practices which are unfair

or deceptive acts or practices in or affecting commerce” and provides

that those rules “may include requirements prescribed for the purpose

of preventing such acts or practices.” 15 U.S.C. § 57a(a)(1), (a)(1)(B).

The amended Rule accordingly defines specific acts or practices that are

unfair or deceptive in the context of contracts with negative option

features. That approach satisfies Section 18’s “specificity” requirement.

Petitioners’ contrary approach—requiring that a rule be limited to a

single industry—contravenes the FTC Act’s plain text and relies on a

false historical narrative.




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     A.    The Rule defines with specificity unfair or
           deceptive acts or practices in or affecting
           commerce.

     On issues of “statutory construction,” courts “start, of course, with

the statutory text, and proceed[] from the understanding that unless

otherwise defined, statutory terms are generally interpreted in

accordance with their ordinary meaning.” Sebelius v. Cloer, 569 U.S.

369, 376 (2013) (cleaned up). Courts must read “the words of a statute

… in their context and with a view to their place in the overall statutory

scheme” rather than in “isolation.” FDA v. Brown & Williamson

Tobacco Corp., 529 U.S. 120, 132-33 (2000) (cleaned up).

     Section 18(a)(1)(B) creates three criteria for FTC rulemaking.

First, the Commission must define “specific[]” acts or practices. Second,

the defined acts or practices must be “unfair or deceptive.” And third,

they must be “in or affecting commerce.” 3 Petitioners assert only that

the Rule fails the “specificity” requirement, but they misconstrue the

statutory language. 15 U.S.C. § 57a(a)(1)(B).


 3
   The FTC’s authority to regulate commerce is “coextensive with the
constitutional power of Congress under the Commerce Clause.” United
States v. Am. Bldg. Maint. Indus., 422 U.S. 271, 277 n.6 (1975); see 15
U.S.C. § 44. The FTC Act also carves out certain industries and
activities from the Commission’s jurisdiction. See 15 U.S.C. § 45(a)(2).

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     When Congress enacted Section 18, “specific” meant “[p]recisely

formulated or restricted; definite; explicit; of an exact or particular

nature.” Specific, Black’s Law Dictionary (4th ed. 1968) cf. Br.32-33

(noting other, similar dictionary definitions).4 Section 18 thus

authorizes the Commission to define particular (specific) acts or

practices that are unfair or deceptive. That is, the Commission cannot

merely adopt a rule that broadly prohibits “any unfair or deceptive act

or practice” across the economy, without more, such that the rule simply

restates Section 5(a) of the FTC Act, 15 U.S.C. § 45(a). That would not

be specific. Instead, the Commission must identify particular acts or

practices that are unfair or deceptive.

     Appellate decisions confirm this interpretation of the specificity

requirement. The D.C. Circuit has explained that the Commission

complies with Section 18 when it “identifies specific practices … as per

se unfair and prohibits those practices.” Am. Fin. Servs. Ass’n v. FTC,

767 F.2d 957, 984 (D.C. Circ. 1985). The D.C. Circuit contrasted the

Credit Practices Rule at issue there with an earlier rule that did not


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   “Specificity” merely means “the quality or condition of being specific.”
See Specificity, Merriam-Webster https://www.merriam-
webster.com/dictionary/specificity (2025).

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satisfy the statutory standard. As the D.C. Circuit explained, the earlier

Vocational Schools Rule did not define any unfair or deceptive practices

but simply “adopted a rule regulating tuition refund policies,” intending

to prevent “unspecified unfair enrollment advertising and sales

practices.” Id. (quoting Katharine Gibbs Sch. (Inc.) v. FTC, 612 F.2d

658, 661 (2d Cir. 1979)). Because the Vocational Schools Rule failed to

define any practices as unfair or deceptive, the Second Circuit struck it

down. Gibbs, 612 F.2d at 662.

     This Rule conforms with the plain meaning of specificity and its

construction by courts. The Rule defines it as unfair or deceptive for a

Negative Option Seller to: (1) make material misrepresentations (such

as about cancellation deadlines); (2) fail to disclose material terms (like

the amount and frequency of recurring charges); (3) fail to obtain

express informed consent before charging the consumer; and (4) fail to

provide a simple mechanism to cancel the negative option feature.

App.446-47 (Add.63-64). The definitions echo acts or practices that the

Commission has defined as unfair or deceptive in other contexts.5 And


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   See Negative Option Rule, 38 FR 4896 (Feb. 22, 1973) (requiring
sellers to comply with certain cancellation procedures); Amplifier Rule,


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each provision is targeted to a specific type of contract: those with a

“Negative Option Feature,” App.446-47 (Add.63-64), which is a defined

term that petitioners do not address or challenge. Thus, the Negative

Option Rule, like the Credit Practices Rule, “defined with specificity the

acts or practices deemed unfair” related to the identified problem (here,

negative option programs), and thus “fully complied with the statutory

requirements of section 18(a)(1)(B).” Am. Fin. Servs. Ass’n, 767 F.2d at

984.

       B.   Congress did not bar the Commission from
            prohibiting unfair or deceptive practices across
            industries.

       1. Petitioners’ argument starts with empty rhetoric, claiming that

“[b]y definition, a Rule that targets over a billion commonplace

contracts used by 220 million American consumers and businesses in

every industry from newspapers to health care is not ‘specific[].’” Br.32

(cleaned up). But that argument, although it purports to rely on




39 FR 15387 (May 3, 1974) (defining as unfair or deceptive the failure to
make certain disclosures); Mail Order Rule, 40 FR 49492 (Oct. 22, 1975)
(defining certain unfair or deceptive acts or practices based on
customers’ consent); Funeral Rule, 47 FR 42260 (Sept. 24, 1982)
(defining unfair or deceptive acts or practices to include certain
misrepresentations).

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statutory text, is completely divorced from Section 18’s meaning. The

quoted term—“specificity”—does not limit the number of consumers

harmed by unfair or deceptive acts practices, nor does it limit the

number of businesses who engage in prohibited conduct. Instead,

specificity requires only that the Commission define the acts or

practices themselves. In fact, as petitioners later recognize, the

Commission can issue proposed rules only when it has reason to believe

the defined deceptive acts or practices are “prevalent,” demonstrating

that Congress intended the Commission to target widespread

misconduct. 15 U.S.C. § 57a(b)(3).

     Petitioners cite various definitions of “specificity” and “specific”

that require distinctiveness or uniqueness. Br.32-33. No one disputes

those definitions. But petitioners ignore the statutory text that

“specificity” modifies: the definition of acts or practices. Instead,

petitioners assert without explanation that the statute “calls for rules

that are targeted and focused on particular practices in definable

industries.” Br.33.

     The text of Section 18 says nothing about industries; indeed, it

refutes petitioners’ premise that the FTC is prohibited from rulemaking



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addressing multiple industries. Rather, Congress provided that

Commission rules may reach conduct “in or affecting commerce,” 15

U.S.C. § 57a(a)(1)(B), while also exempting from the Commission’s

jurisdiction a handful of statutorily enumerated industries, confirming

that participants in any non-exempted industry can be subject to

Commission rules, id. § 45(a)(2). Congress thus expressly allowed the

Commission to target acts or practices that “affect[] commerce,”

whether that effect occurs in one industry or many. See TRW Inc. v.

Andrews, 534 U.S. 19, 28 (2001) (“Where Congress explicitly

enumerates certain exceptions to a general prohibition, additional

exceptions are not to be implied, in the absence of evidence of a contrary

legislative intent.” (internal quotation omitted)).

     Petitioners fail to cite a single case supporting their single-

industry theory. Their brief mention of Gibbs includes a parenthetical

claiming the Second Circuit overturned an “‘overbr[oad]’ rule for lacking

‘specificity.’” Br.32 (alteration in original) (quoting Gibbs, 612 F.2d at

667).6 As explained above, however, the problem in Gibbs was that the


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   The quoted reference to “overbreadth” came in the court’s analysis of
whether the FTC could preempt state laws and had nothing to do with
industries. Gibbs, 612 F.2d at 667.

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Commission had failed to define any conduct as unfair or deceptive and

instead issued a purely “remedial” rule that would have permitted civil

penalties for conduct not specifically defined as an FTC Act violation.

Gibbs, 612 F.2d at 662. Gibbs has no relevance here because the Rule

indisputably defines specific conduct as unfair or deceptive.

     2. The crux of petitioners’ argument is that this Rule is, in their

view, too broad. They claim that “Congress rejected” rules extending

beyond any one industry but “did not block” rules that stayed industry-

specific. Br.34-35. Put aside that this point has nothing to do with the

text of Section 18. It also simply isn’t true. While some Commission

rules are industry-specific, the Commission has consistently

promulgated industry-agnostic or multi-industry rules both before and

after Magnuson-Moss, without congressional interference.

     The original Negative Option Rule, promulgated in 1973, applied

to “the use of any negative option plan,” “[i]n connection with the sale,

offering for sale, or distribution of goods and merchandise in commerce.”

35 FR 4896 (Feb. 22, 1973). While negative option plans initially arose

with book-of-the-month and record clubs (cf. Br.16), the Commission

explained that the plans “began to proliferate” and applied to “an



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infinite variety of products, including flowers, wines, Bibles, dogs, dolls,

handkerchiefs, and dresses.” 35 FR at 4897-98; see also id. at 4900,

4914 (identifying practices within some of these industries).

Importantly, Magnuson-Moss guaranteed that its amendments “shall

not affect the validity of any rule” promulgated before the “date of

enactment of this section.” 88 Stat. at 2198. That included the Negative

Option Rule, confirming that Congress did not object to its multi-

industry reach.

     There are plenty of other examples. As explained above (at 8, 10),

the Mail Order Rule—now MITOR—defined certain acts or practices as

unfair or deceptive “[i]n connection with mail order sales in commerce.”

40 FR 49492 (Oct. 22, 1975); see 16 C.F.R. Pt. 435. Countless industries

sold goods through the mail—and today, even more sell through mail,

internet, or telephone orders—and the rule reached (and reaches) them

all. The Franchise Rule, Credit Practices Rule, and Business

Opportunity Rule likewise reach across industries. 7 See supra 8-10

(describing each rule’s reach).


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   In an aside, petitioners refer to the “franchising industry,” Br.35, but
franchising is no more an “industry” as petitioners use the term than


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      Similarly, the Holder Rule determined that, “[i]n connection with

any sale or lease of goods or services to consumers,” it was an unfair or

deceptive act or practice for sellers to fail to include specific contractual

language in any “consumer credit contract.” 40 FR 53506 (Nov. 18,

1975); 16 C.F.R. Pt. 433. As in the Negative Option Rule, the

Commission defined an unfair or deceptive act or practice connected to

contracts used by businesses across many industries.

      Congress expressly allowed the Commission to promulgate several

of these rules. As explained above (at 7-8), Magnuson-Moss provided

that any proposed rule that was “substantially completed” at the time of

Section 18’s enactment “may be promulgated in the same manner and

with the same validity as such rule could have been promulgated had

this section not been enacted.” 88 Stat. at 2198. That provision applied

to the Mail Order Rule, Franchise Rule, and Holder Rule. See United

States v. JS & A Grp., Inc., 716 F.2d 451, 454-55 (7th Cir. 1983)



recurring subscriptions constitute a “subscription industry.” Notably, at
least one comment—on behalf of three major trade associations that
opposed the rule—referred to the “subscription industry.” See Comment
of Entertainment Software Ass’n, Digital Media Ass’n, and Motion
Picture Ass’n, FTC-2023-0033-0867,
https://www.regulations.gov/comment/FTC-2023-0033-0867.

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(holding that Congress intended to preserve the Mail Order Rule). Had

Congress not wanted the Commission to maintain these cross-industry

rules, it would have prohibited those rulemakings—as petitioners

emphasize, Congress stepped in when it believed the Commission had

gone too far. See Br.34-35; see also 15 U.S.C. § 57a(h) (removing

Commission’s “authority to promulgate any rule” similar to the pending

“children’s advertising rule”).

     Petitioners’ theory also collides with Congress’s directive in

Magnuson-Moss requiring the Commission to adopt rules governing

consumer warranties. 88 Stat. at 2185-87, 2189-92; see 15 U.S.C.

§ 2302. Petitioners never explain why Congress would have limited the

Commission to single-industry rulemaking while simultaneously

ordering the Commission to promulgate rules governing anyone using a

“written warranty” to “warrant[] a consumer product” regardless of

industry. 15 U.S.C. § 2302; see also 16 C.F.R. Pt. 700.

     3. Petitioners’ theory that “Congress rejected” cross-industry rules

thus runs headlong into numerous cross-industry rules that Congress

approved or mandated. Br.34. Congress rejected rules that proposed to

regulate children’s advertising and the general standards for the



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quality, weight, and measure of goods and materials because it disliked

those rules and believed they went too far, not because of any multi-

industry concern. The children’s advertising rule included an

“unbounded definition of ‘unfairness.’” S. Rep. 96-500 at 2. The

standards rule failed to “indicate a ‘pattern’ of violations.” Id. Those

problems do not exist here, and neither the statutory text nor legislative

history give any inkling that Congress rejected those rules because they

affected multiple industries.

     Nor are petitioners correct that “[t]he rules that Congress did not

block” somehow “confirm” their point. Br.35. Congress did not block the

original Negative Option, Holder, Mail Order, Franchise, Credit

Practices, or Business Opportunity rules, refuting any notion that “the

Commission is suddenly asserting” newfound authority to promulgate

cross-industry rules. Br.37-38. The Commission has promulgated such

rules for decades—before, during, and after Magnuson-Moss.8


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    For the same reason, there is no merit to petitioners’ offhand
reference to the major questions doctrine. Br.38 n.5. The rulemaking
authority here has not been “suddenly discovered” or “rarely … used,”
and this Rule was not promulgated “against a backdrop of an agency
failing to invoke” this power. Br.38 (citations omitted). In any event,
petitioners forfeited this argument by including it in only an


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     Petitioners are also wrong that when Congress has “provid[ed] the

Commission with separate rulemaking powers,” it has “limited” those

statutes “to specific industries.” Br.36-37. Congress has charged the

Commission with promulgating rules governing the “operator of any

website or online service directed to children that collects personal

information from children.” 15 U.S.C. § 6502(b)(1)(A). Congress has also

directed the Commission to “prescribe rules prohibiting deceptive

telemarketing acts or practices and other abusive telemarketing acts or

practices.” 15 U.S.C. § 6102(a)(1); see also supra 34 (discussing

Magnuson-Moss). Those statutes are not industry-specific.

     4. Beyond their revisionist historical narrative, petitioners’

atextual theory relies on sources irrelevant to the interpretation of

Section 18, enacted in 1975. Petitioners cite a Senate Report from 1979,

a House Report from 1993, and a Senate hearing from 2010. Br.34-35.

But “[p]ost-enactment legislative history (a contradiction in terms) is

not a legitimate tool of statutory interpretation.” Bruesewitz v. Wyeth

LLC, 562 U.S. 223, 242 (2011). In any event, statements in those



undeveloped footnote. See Falco Lime, Inc. v. Tide Towing Co., 29 F.3d
362, 367 n.7 (8th Cir. 1994).

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sources (and from individual Commissioners decades later, Br.35-36) do

not articulate any atextual single-industry limitation on the

Commission’s power.

     The only timely legislative history petitioners rely on lends no

support—even setting aside the relevance of legislative history, see

United States ex rel. Cairns v. D.S. Medical LLC, 42 F.4th 828, 836 (8th

Cir. 2022). When explaining the language authorizing the Commission

to prescribe preventive requirements, see 15 U.S.C. § 57a(a)(1)(B),

Congress observed that the Commission could “continue to specify such

matters” as “what octane rating should be posted on gasoline pumps.”

Br.33 (quoting S. Conf. Rep. 93-1408, at 7763-64 (Dec. 18, 1974)). That

snippet was merely an “example,” S. Conf. Rep. 94-1408 at 7764, and

was not discussing the specificity requirement. It does not suggest that

Congress intended the Commission to make only industry-specific rules

but forgot to place that limitation in the statute.

     5. Finally, petitioners gesture at a policy argument, claiming that

unless the Court grafts onto the statute petitioners’ preferred limitation

then “almost anything ‘could be considered’ unfair.” Br.38-39 (quoting S.

Rep. 96-500). Petitioners ignore that the FTC Act defines “unfair.” 15



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U.S.C. § 45(n). And of course, the Commission’s rulemaking is subject to

judicial review. 15 U.S.C. § 57a(e). Petitioners’ atextual limitation is

thus unnecessary to ensure that the statute’s unfairness standard has

metes and bounds.

     The history of FTC practice and the absence of supporting

precedent merely reaffirm what Section 18’s text already demonstrates.

There is simply nothing in Section 18 or anywhere else in the FTC Act

that says the Commission may make only “industry-specific” rules.

Petitioners’ “problem … is the one that inheres in most incorrect

interpretations of statutes: It asks [the Court] to add words to the law

to produce what is thought to be a desirable result.” EEOC v.

Abercrombie & Fitch Stores, Inc., 575 U.S. 768, 774 (2015). If Congress

had meant to impose industry-specific boundaries on FTC rulemaking,

it would have said so instead of authorizing rules regulating practices

“in or affecting commerce.” 15 U.S.C. § 57a.

     C.    The Rule is not vague.

     Petitioners next argue that the Rule fails the specificity

requirement “because it is replete with vague and ambiguous




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standards.” Br.39.9 To challenge the Rule’s straightforward

requirements, petitioners imagine edge cases they believe would

demonstrate hypothetical problems in applying the Rule. E.g. Br.41-42.

But those examples are improper for a facial attack on a regulation.

Should those scenarios ever come to pass, a defendant could argue

against a particular application of the Rule. 10

      Petitioners’ vagueness argument fails at the outset because it

rests on a false premise. Petitioners no longer rely on dictionary

definitions of “specific” or “specificity” that cohere around the basic

concept of “particular” or “distinctive” (Br.32-33), but instead contend

“specificity” means “free from … ambiguity.” Br.40. That misrepresents

the definition petitioners rely on. They partially quote the second clause

in the fourth meaning of “specific” in the 1976 Webster’s Third New

International Dictionary, which says (at 2187) “specific” can mean “free




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   Though petitioners use the word “vague,” they do not invoke the
Constitution’s vagueness doctrine. Cf., e.g., Adam & Eve Jonesboro,
LLC v. Perrin, 933 F.3d 951, 958 (8th Cir. 2019) (explaining the
standard for constitutional vagueness challenges).
 10
   A facial attack based on specific applications of the Rule is
particularly improper because regulated entities “may petition the
Commission for a partial or full exemption.” App.447 (Add.64).

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from such ambiguity as results from careless lack of precision or from

omission of pertinent matter.” In addition to distorting the quoted

definition, Petitioners make no effort to show a “careless lack of

precision” or “omission of pertinent matter” here. Their handful of

hypotheticals do not demonstrate any omission or carelessness. The

Court can reject petitioners’ argument for this reason alone.

     In any event, none of petitioners’ vagueness arguments hold

water. They complain the Rule does not define a “simple” and “easy”

cancellation mechanism, Br.40, but the Rule prescribes detailed

“[m]inimum requirements for” a “simple mechanism.” App.447 (Add.64)

(§ 425.6(c)). The Commission also explained that the “as easy as

standard” is “a flexible measure that ensures consumers have similar

cancellation and consent experiences in terms of time, burden, expense,

and ease of use, among other things.” App.414 (Add.31). Beyond that,

“[t]he Commission has provided considerable guidance on what

constitutes a simple or ‘easy’ cancellation mechanism through

numerous cases and its 2021 Enforcement Policy Statement.” App.413

n.384 (Add.30) (collecting cases); App.20-25 (policy statement).




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Petitioners ignore this material and never explain how it deprives

regulated entities of sufficient notice.

     Petitioners next attack the “Rule’s definition of ‘[m]aterial fact.’”

Br.41. But in direct response to a comment from Petitioner Chamber of

Commerce, the Commission defined “Material” in the Rule. App.446

(Add.63); see App.401 & n.238 (Add.18) (noting the Chamber’s

comment). As the Commission explained, that definition is “consistent

with section 5” of the FTC Act and the Commission’s Telemarketing

Sales Rule. App.401 & n.238 (Add.18) (citing 16 C.F.R. § 310.2(t); Policy

Statement on Deception (Oct. 14, 1983) (appended to In re Cliffdale

Assocs., Inc., 103 F.T.C. 110 (1984)). Courts have long accepted and

applied this standard. See, e.g., Novartis Corp. v. FTC, 223 F.3d 783,

787 (D.C. Cir. 2000). And materiality requirements are commonplace

outside the FTC context too. See, e.g., 17 C.F.R. § 240.10b-5 (SEC Rule

10b-5). Petitioners identify no decision holding that “material” in any

law or regulation is impermissibly vague. In any event, the Rule

identifies some specific categories of material information, including

“consent” terms, the “deadline to prevent or stop a Charge,” “Cost,” the

“recurring basis” of charges, the “frequency of charges,” and



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“information necessary for the consumer to find the simple cancellation

mechanism.” See App.446 (Add.63) (§§ 425.3-425.4).

     Lastly, petitioners complain that “the Rule’s prohibitions on

information that ‘interferes with, detracts from, contradicts, or

otherwise undermines’ the required disclosures or consent mechanism”

fails to give “regulated sellers … sufficient notice of what specific

information is prohibited.” Br.42; see App.446-47 (Add.63-64). But the

Commission explained that this language “is consistent with

longstanding Commission precedent that consent can be subverted.”

App.407 (Add.24). That explanation identifies a robust body of

precedent giving regulated entities sufficient notice. See id.; see also,

e.g., FTC v. Cyberspace.com LLC, 453 F.3d 1196, 1200 (9th Cir. 2006)

(collecting cases holding that advertisers may not skirt the FTC Act by

burying key terms in fine print). But these prohibitions are not even

subject to the specificity requirement. Instead, they draw on the

Commission’s Section 18 authority to “include requirements prescribed

for the purpose of preventing [unfair or deceptive] acts or practices.” 15

U.S.C. § 57a(a)(1)(B). These are prophylactic measures to ensure that

parties do not circumvent the Rule’s requirements.



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      Petitioners conclude with another policy argument that again

misunderstands the FTC Act. They claim the “upshot of these fuzzy

standards” is that the Commission can seek civil penalties for

violations, whereas if the Commission were to proceed under Section 5

adjudication it would have to “go through an administrative and judicial

review process before it can even try to hold companies liable.” Br.43.

But the Commission must still go through both an administrative

process (the rulemaking) and a judicial review process (the Commission

may only seek civil penalties in court) before any award of civil

penalties. And penalties are available only when defendants “violate[]

any rule … with actual knowledge or knowledge fairly implied on the

basis of objective circumstances,” among other limitations. 15 U.S.C.

§ 45(m)(1)(A). Petitioners ignore these safeguards.

II.   Congress Did Not Preclude the Commission from
      Regulating Negative Option Programs.

      The Rule implements the Commission’s statutory authority under

Section 18 and is not foreclosed by any other statutes. Petitioners claim

the Rule “is broader than” various statutes administered by the FTC

and other agencies. Br.50. Even if true, that would not be unusual or

problematic: every business must comply with overlapping laws and


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regulations. Petitioners identify nothing in those statutes that limits

the FTC’s rulemaking authority here.

     The FTC regularly investigates or regulates conduct subject to

other statutes, but “[i]n the administrative context, two cops on the beat

is nothing unusual.” FTC v. AT&T Mobility LLC, 883 F.3d 848, 862 (9th

Cir. 2018) (en banc). “Such concurrent jurisdiction makes sense, as

different federal agencies bring to the table discrete forms of expertise

and specific enforcement powers.” Id. There is “not even a faint clue

that Congress” sought to “constrict[]” the FTC’s jurisdiction to prevent

unfair and deceptive practices simply because “[o]ther agencies and

their mandates … overlap” with the Commission. Thompson Med. Co. v.

FTC, 791 F.2d 189, 192-93 (D.C. Cir. 1986). Thus, FTC enforcement

actions and rules can—and often do—reach conduct that is subject to,

and even permitted by, other statutory regimes. In fact, Congress

authorized the Commission to “consider established public policies,” 15

U.S.C. § 45(n)—including policies established by statutes—when

deciding whether a practice is unfair. See FTC v. Sperry & Hutchinson

Co., 405 U.S. 233, 243-44 & n.5 (1972); Am. Fin. Servs., 767 F.2d at 971.




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     In any case, “where two statutes apply to ‘the same subject, effect

should be given to both if possible.’” AT&T, 883 F.3d at 862 (quoting

Posadas v. Nat’l City Bank of N.Y., 296 U.S. 497, 503 (1936)). Here,

petitioners identify no irreconcilable conflict between the FTC’s exercise

of its Section 18 rulemaking power and any other statutory scheme, so

the Court should give full effect to all these authorities.

     Despite petitioners’ inaccurate hyperbole that the Rule “nullifies”

statutes, Br.50 (emphasis in original), petitioners cite no statute that

prohibits FTC regulation of negative option programs. First, petitioners

(Br.50-51) invoke two statutes the FTC administers—the

Telemarketing Act and the Restore Online Shoppers’ Confidence Act

(ROSCA)—but both clarify that nothing in them “shall be construed to

limit the authority of the Commission under any other provision of law.”

15 U.S.C. §§ 6105(c), 8404(c). ROSCA, like the Rule, requires internet

negative-option marketers to clearly and conspicuously disclose

“material terms,” obtain “express informed consent,” and “provide

simple mechanisms” for cancellation. 15 U.S.C. § 8403. And Congress

plainly intended ROSCA to coexist with Section 18: ROSCA says that




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violations of “any regulation prescribed under this Act shall be treated

as a violation of a rule under section 18.” Id. § 8404(a).

      Next, petitioners invoke statutes other agencies enforce, but those

statutes have no bearing on FTC rulemaking authority. Petitioners

claim (Br.51) the Rule conflicts with a provision of the Electronic Funds

Transfer Act requiring “financial institution[s]” to let consumers stop

preauthorized fund transfers. 15 U.S.C. § 1693e(a). But the Rule

governs “Sellers” (see Rule § 425.6(a)), not financial institutions.11

Likewise, petitioners cite statutes allowing cable subscribers to cancel

after receiving fee disclosures, 47 U.S.C. § 562(a), and requiring

broadband sellers to disclose prices on consumer labels, 47 U.S.C.

§ 1753. Petitioners do not explain how these statutes demonstrate

congressional intent to prevent the FTC from regulating negative option

programs. Petitioners have shown only that businesses are subject to

multiple consumer-protection laws, which is commonplace.

      Finally, petitioners assert that if Section 18 allowed the

Commission to “overrid[e] Congress’s own judgments as to what



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   The FTC lacks jurisdiction over banks, federal credit unions, and
savings and loan associations. 15 U.S.C. § 45(a)(2).

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practices cross the line,” Br.52, it would violate the Constitution’s

“nondelegation doctrine.” Petitioners urge the Court to read Section 18

to “avoid” this hypothesized problem. Br.52-53. But there is no problem

because the Rule does not override congressional judgments, as shown

above.

     There is no nondelegation concern here. The Supreme Court has

held “that a statutory delegation is constitutional as long as Congress”

provides “an intelligible principle” to which “the delegated authority”

must “conform.” Gundy v. United States, 588 U.S. 128, 135 (2019)

(cleaned up). That standard is “not demanding.” Id. at 146. Here,

Congress limited the Commission’s rulemaking authority to addressing

“unfair or deceptive” acts or practices. 15 U.S.C. § 57a(a)(1)(B). Courts

have long applied those standards without question. Indeed, petitioners

appear to acknowledge that “unfair or deceptive acts or practices” is an

“intelligible principle” to constrain the Commission’s discretion. See

Br.52. And because petitioners have raised no “serious doubt” about

Section 18’s constitutionality, their attempt to invoke the canon of

constitutional avoidance is misplaced. See Nielsen v. Preap, 586 U.S.

392, 418-19 (2019) (cleaned up).



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III. The Commission Reasonably Justified the Rule’s
     Requirements and Scope.

      Drawing on a voluminous record of law-enforcement actions,

studies, consumer complaints, and public comments, the Commission

found that sellers have engaged in four prevalent forms of unfair and

deceptive practices connected with negative option programs. App.389-

92 (Add.6-9). Across economic sectors, sellers have (1) misrepresented

material facts, (2) omitted important details, (3) enrolled consumers

without consent, and (4) imposed unreasonable barriers to cancellation.

App.392 (Add.9). The Rule’s four core provisions are tailored to prevent

these four abuses. Rule §§ 425.3-425.6; App.399-420 (Add.16-37)

(section-by-section analysis).

      Petitioners object to the Commission’s factual analysis (Br.44-49)

and the Rule’s requirements (Br.60-66), but those challenges fail under

the “highly deferential” arbitrary-and-capricious standard of review.12

Adventist Health Sys./Sunbelt, Inc. v. HHS, 17 F.4th 793, 803 (8th Cir.

2021) (cleaned up). In an exhaustive analysis spanning over 60 pages of


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   Although petitioners assert in a footnote that the Commission’s
analysis of prevalent violations was “contrary to law” (Br.45 n.6), they
concede that their grievance is with the Commission’s factual “proof.”
Br.44.

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the Federal Register, the Commission “examine[d] the relevant data

and articulate[d] a satisfactory explanation for its action including a

rational connection between the facts found and the choice made.”

Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983) (cleaned up). Deference is especially warranted when,

as here, “the dispute involves primarily issues of fact” resolved by an

agency “acting within the sphere of its expertise.” Adventist, 17 F.4th at

803 (cleaned up). Petitioners’ argument would improperly require this

Court to “substitute its judgment for that of the agency.” State Farm,

463 U.S. at 43 (cleaned up).

     A.    The Commission properly found that unfair and
           deceptive practices are prevalent, and those
           findings are not reviewable.

     1. Section 18 directs that when the Commission finalizes a rule, it

must publish a “statement of basis and purpose” containing a

“statement as to the prevalence of the acts or practices treated by the

rule.” 15 U.S.C. § 57a(b)(1)(D), (d)(1)(A). And the statute defines an

unfair or deceptive act or practice as “prevalent” if (A) the agency “has

… issued cease-and-desist orders regarding” the practice; or (B) “any

other information available to the Commission indicates a widespread



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pattern of unfair or deceptive acts or practices.” App.389 (Add.6)

(quoting 15 U.S.C. § 57a(b)(3)).

     Applying these standards, the Commission issued a statement of

prevalence based on (1) dozens of federal, state, and private

enforcement actions; (2) tens of thousands of consumer complaints and

hundreds of public comments; and (3) studies showing that countless

Americans are trapped in unwanted and unauthorized subscriptions.

App.389-92 (Add.6-9). The Commission met its statutory duty because

the statement provides “evidence … to suggest that the practice the

FTC rule seeks to regulate does indeed occur.” Penn. Funeral Dirs.

Ass’n v. FTC, 41 F.3d 81, 87 (3d Cir. 1994).

     2. Congress provided that the “contents and adequacy” of the

statement of basis and purpose–which includes the statement of

prevalence—“shall not be subject to judicial review in any respect.” 15

U.S.C. § 57a(e)(5)(C). See also S. Conf. Rept. 93-1408 at 32 (the

statement’s “contents are not to be subject to court review on any basis

at any time”).

     Petitioners confusingly assert that they “don’t challenge [the

prevalence] statement,” but are only arguing that “the Commission has



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not met the prevalence requirement.” Br.45 n.6 (emphasis added). Yet

Section 18’s only relevant “prevalence requirement” is the one requiring

a statement as to prevalence. That statement is not reviewable.

     Nor may petitioners rely on Section 18’s separate requirement

that the Commission may issue an NPRM “only where it has reason to

believe that the unfair or deceptive acts or practices which are the

subject of the proposed rulemaking are prevalent.” 15 U.S.C.

§ 57a(b)(2)(A). See Br.44-45. When Congress adopted this provision, it

clarified that the “‘reason to believe’ standard is intended to bar any

judicial review.” S. Rep. No. 103-130, at 10 (Aug. 24, 1993). Cf. FTC v.

Standard Oil Co. of Calif., 449 U.S. 232, 238-46 (1980) (courts may not

review FTC complaint alleging “reason to believe” defendants violated

the law). In any event, the Commission satisfied the requirement by

identifying in the NPRM dozens of “recent FTC cases” as well as

“thousands of complaints” received “each year related to negative option

marketing.” App.26, 29, 35-36.

     3. Even if the Commission’s prevalence findings were reviewable,

petitioners wrongly suggest (Br.44-48) that the Court should impose

some numerical threshold to demonstrate prevalence. As the Third



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Circuit held, “there appears to be no mandate that a practice be

prevalent (i.e., occur in a certain number of transactions) in order for

the FTC to adopt a rule regulating the practice.” Penn. Funeral, 41 F.3d

at 87 (emphasis added). Section 18 requires only “some basis or

evidence … to suggest” the practices subject to the rule “do[] indeed

occur.” Id.

      Petitioners thus have no grounds to assert that Section 18

required “extraordinary proof” of “the dominance of the targeted

unlawful practice across all of the particular trade sectors being

regulated.” Br.44-45. Such claims have no foundation in the statute or

case law, and petitioners cite none. Congress authorized the

Commission to deem acts “prevalent” if the Commission “has issued

cease and desist orders regarding such acts,” or if “any information

available to the Commission indicates a widespread pattern of unfair or

deceptive acts or practices.” 15 U.S.C. § 57a(b)(3).

      Moreover, the Commission need not “undertake a full scale

economic investigation prior to the promulgation of [a] rule,” or “account

in unreasonable detail for its conclusions.” Am. Optometric Ass’n v.

FTC, 626 F.2d 896, 906 (D.C. Cir. 1980) (cleaned up). Section 18 does



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not require “substantial, rigorous, quantitative studies.” Penn. Funeral,

41 F.3d at 86. Courts must affirm Section 18 rules “if a rational basis

exists for the agency’s decision.” Am. Fin. Servs., 767 F.2d at 986

(cleaned up).

      4. The Commission had far more than a “rational basis” to find

that unfair and deceptive negative option practices not only occur but

are prevalent.

      Multi-industry scope: The Commission found that unfair and

deceptive recurring charges could arise in “virtually every industry,”

since they are a function of a common sales method, the negative

option, not the underlying product. App.391-92 (Add.8-9). Indeed, the

Commission and the states have encountered unfair and deceptive

recurring charges in a sweeping array of industries, including dating,

wealth opportunities, credit monitoring, satellite radio, apparel, social

networking, and language learning. App.389-90 (Add.6-7).13




 13
    Petitioners complain that many of these cases settled (Br.48), but
Congress authorized the Commission to rely on “any” information
germane to prevalence, 15 U.S.C. § 57a(b)(3)(B), without excluding
settled cases.

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     The Commission had no duty to find that violations are prevalent

in “each sector,” Br.48 (emphasis in original), as unfair and deceptive

“marketing strateg[ies]” often are “transferable” to other “product[s] or

service[s]” across industries. Telebrands Corp. v. FTC, 457 F.3d 354,

361 (4th Cir. 2006); see also supra 28-38 (Section 18 authorizes cross-

industry rulemaking). Limiting an FTC rule or order to specific product

lines would be self-defeating, as “the Commission is concerned not with

how [the underlying products] work, but with how [they] are sold.”

Sears, Roebuck & Co. v. FTC, 676 F.2d 385, 392 (9th Cir. 1982).

Accordingly, the Commission need not also cite past violations involving

“pet food” (Br.46), since consumers’ injuries arise from widespread

marketing strategies, not a particular product.

     Frequency of abuses: Petitioners claim that abuses occur in only

a “tiny fraction” of subscriptions (Br.47), but the Commission had no

burden to prove that “the practice occurs in a certain percentage of

transactions.” Penn. Funeral, 41 F.3d at 86. Regardless, petitioners do

not contest the Commission’s reliance on studies showing that most

Americans have been enrolled in recurring charges without consent and

pay hundreds per year in unwanted recurring fees, which often take



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months to cancel. App.391 (Add.8); App.30-31, 35, 54, 57, 62-63, 104,

283-90; supra 11-13. Those studies alone demonstrate prevalence.

     Business-to-business transactions: Petitioners object that the

Rule protects business customers (Br.46), but the Commission found—

based on consumer complaints and past enforcement actions—that

deceptive and unfair recurring charges harm small- and medium-sized

businesses in all the same ways as individual consumers. App.396-97

(Add.13-14). Courts have long held that the FTC Act protects business

consumers. See, e.g., Indep. Directory Corp. v. FTC, 188 F.2d 468, 470

(2d Cir. 1951).

     Consumer complaints: Petitioners blast the Commission for

relying on tens of thousands of supposedly “unverified” consumer

complaints (Br.48). See App.390-92 (Add.7-9); App.54-56. But the

Commission and Congress often rely on FTC complaint statistics in

setting policy. See, e.g., FTC v. Mainstream Mktg. Servs. Inc., 345 F.3d

850, 857, 860 (10th Cir. 2003) (discussing origins of telemarketing

regulation). And courts have often ruled that large numbers of

consumer complaints are probative of deception. See, e.g., FTC v.

Kuykendall, 371 F.3d 745, 758, 767 (10th Cir. 2004) (en banc) (citing



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over 900 consumer complaints “show[ing] pervasive confusion about the

total cost, duration, and cancellation policies of [defendant’s]

subscription packages”).

       Beyond describing the complaint statistics in the aggregate, the

Commission linked them to “specific [unfair or deceptive] practices.”

Br.48. The Commission provided detailed summaries of comments from

consumers who: (1) did not receive appropriate disclosures,14 (2) were

enrolled without consent,15 and (3) lacked any convenient or feasible

way to cancel the charges. 16 This record evidence amply supports the

Commission’s statement as to prevalence.

       B.    The Commission appropriately exercised its
             discretion when crafting the Rule’s requirements
             to prevent future wrongdoing.

       Petitioners challenge several of the Rule’s requirements, but the

scope of review is “quite limited,” as “[t]he Commission is the expert

body to determine what remedy is necessary to eliminate the unfair or

deceptive trade practices which have been disclosed.” Am. Fin. Servs.,



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      App.404 & nn.267-71 (Add.21).
 15
      App.408 & n.315 (Add.25).
 16
   App.412-13 & nn.361-74 (Add.29-30); App.415-20 & nn. 401, 413-17,
424-25, 437, 447-48 (Add.32-37).

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767 F.2d at 988 (quoting Jacob Siegel Co. v. FTC, 327 U.S. 608, 612-13

(1946)). Petitioners fail to meet their heavy burden to overturn the

Commission’s informed determination that the Rule represents “the

most effective way to eliminate the unfair practices.” Id. “[T]he FTC’s

decision that the [Rule] will reduce consumer injury is supported by

substantial evidence and is not arbitrary and capricious.” Penn.

Funeral, 41 F.3d at 90.

     1. Simple cancellation (§ 425.6): Sellers often prevent

consumers from cancelling subscriptions by subjecting them to

unreasonable hold times, frequent disconnects, aggressive upsell

tactics, and obscure cancellation procedures disclosed in fine print, if at

all. App.412-19 (Add.29-36). The Rule requires sellers to allow

consumers to cancel via mechanisms “at least as easy to use as the

mechanism the consumer used to consent” and “through the same

medium the consumer used to consent.” App.447 (Add.64).

     The Commission addressed petitioners’ concern that companies

will need to “verify the consumer’s identity” or “confirm that

cancellation is desired.” Br.61-62. The Rule allows sellers to respond to

cancellation requests by: (1) following “reasonable verification,



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authentication, or confirmation procedures”; (2) “appris[ing] consumers

of any negative consequences of cancellation”; and (3) offering “valuable

concessions (e.g., lower prices) to consumers.” App.414, 420 (Add.31, 37).

In fact, the Commission declined to finalize a proposal to prohibit

sellers from attempting to “save” a transaction, recognizing that sellers

may need to give consumers “necessary and valuable information”

before cancelling. App.419-20 (Add.36-37).

      Petitioners fail to explain why live phone calls are necessary to

convey this information. See Br.61-62. 17 Consumers routinely

authenticate their identities and agree to contracts online. App.418

(Add.35). If a seller uses a website to disclose information, verify

consumers’ identities, and confirm intent to enroll, the seller can—and

now, must—adopt reasonably “symmetrical” procedures when

responding to cancellation requests. App.414, 418 (Add.31, 35). As the

Commission found, consumers interpret a simple online enrollment

experience as an implied assurance that online cancellation will be



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    Petitioners improperly rely on declarations they prepared after the
Rule was issued, accompanying their motion to stay. See Br.16, 61-62,
64 (citing “Stay App.”). Judicial review is limited to “evidence in the
rulemaking record” before the agency. 15 U.S.C. § 57a(e)(1), (3).

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equally simple, without the added hassle of conversing with a live

agent. App.418 (Add.35).

     Still, the Rule does not categorically forbid phone cancellation: If a

seller requires a phone call for consumers to enroll in a negative-option

program, the seller may continue requiring a phone call to cancel.

App.418-19 (Add.35-36).

     Petitioners seize on the Commission’s estimate that an average

online cancellation should take less than a minute (Br.62), but they

ignore the caveat that this estimate “is not intended to set a standard.”

App.428 & n.545 (Add.45). The Rule merely requires that cancellation

be as simple as sign-up, not that cancellation occur in a particular

timeframe.

     The Commission also addressed bundled services (Br.62-63),

explaining that a seller may cancel individual services even if

consumers signed up for a bundle, provided there is reasonable

symmetry between the enrollment and cancellation process in terms of

“time, burden, expense, and ease of use.” App.418 (Add.35). Petitioners

fail to explain why phone calls are needed to cancel bundled services

obtained online. If a seller uses a website to describe its bundled service



                                    59
packages and verify consumers’ intent to enroll, it can use similar

means to describe the cancellation options and verify consumers’ intent

to disenroll. Id.18

      Nor is there any inconsistency with ROSCA’s requirement that

internet sellers “provide simple mechanisms for a consumer to stop

recurring charges from being placed on the consumer’s … account.” 15

U.S.C. § 8403(3). See Br.51, 63. Like the Rule, ROSCA requires sellers

to offer “cancellation mechanisms at least through the same medium …

the consumer used to consent.” App.24 (2021 FTC policy statement); see

United States v. MyLife.com, Inc., 567 F. Supp. 3d 1152, 1167, 1169

(C.D. Cal. 2021) (internet company violated ROSCA by limiting

“cancellation” to “telephone”). The Rule provides specific guidance

consistent with ROSCA’s requirements. See App.386-87 (Add.3-4).




 18
    Amici franchise associations incorrectly assert (at 10) that the
simple-cancellation requirement prevents sellers from setting a “notice
period prior to cancellation.” As amici later acknowledge (at 14-15), the
Rule expressly allows parties to set by contract “[e]ach deadline … by
which the consumer must act to prevent or stop the Charges.” Rule
§ 425.4(a)(2). The Rule addresses only the mechanisms for cancelling
future recurring charges (§ 425.6), and does not permit consumers to
cancel “the entire contract” or avoid obligations already due. See
App.413 n.382 (Add.30).

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     2. Consent (§ 425.5): The Commission found a “need for clear,

unambiguous, affirmative consent to a negative option feature,” given

abundant evidence demonstrating that Americans are unwittingly

enrolled in subscriptions with recurring charges. App.391, 408, 411

(Add.8, 25, 28). The Rule thus requires sellers to obtain the consumer’s

“unambiguously affirmative consent to the Negative Option Feature

offer separately from any other portion of the transaction,” through “a

check box, signature, or other substantially similar method.” App.446-

47 (Add.63-64).

     Petitioners object that this provision will “necessitate two

different consents” (Br.64), but contracts routinely require consumers to

sign, initial, or check a box next to multiple key terms. E.g., Chicago

Copper & Chem. Co. v. Apex Mining Co., 281 F.2d 530, 532 (8th Cir.

1960) (explaining that contract was formed when defendant’s

representative “signed it and initialed each paragraph”). Petitioners

misconstrue the Commission’s decision to abandon a proposed

requirement that sellers obtain consent to the “rest of the transaction.”

App.410 (Add.27). The Commission found this proposal “unnecessary”

and “potentially confusing,” id., but did not suggest that all contracts



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seeking multiple consents would be unnecessary and confusing. The

Commission simply rejected an additional consent requirement. Id. The

Commission did exactly what petitioner National Federation of

Independent Business requested in public comments: “tailor proposed

section 425.5 to address consent to the negative option feature, leaving

the matter of consents to other aspects of the transaction to [state

law].”19

      3. Materiality: The Rule forbids material misrepresentations

(§ 425.3) and requires disclosure of material information (§ 425.4).

App.399-407, 446 (Add.16-24, 63). Petitioners repeat their claims that

the materiality standard is vague. Br.65. As discussed at 41-42 above,

such claims fail because the materiality standard provides concrete

guidance grounded in longstanding precedent.

      Nor was it arbitrary for the Commission to forbid material

misrepresentations and omissions beyond the “recurring subscription

feature” itself. See Br.66. Negative option programs pose an especially

grave risk of deception and fraud, since the charges multiply over time


 19
    See Comment from National Federation of Independent Business,
Inc. (Jun. 21, 2023), at 7, https://www.regulations.gov/comment/FTC-
2023-0033-0789.

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and can accrue for months before the consumer discovers them.

App.401-06 (Add.18-23). When a consumer makes individual purchases,

“each purchase requires the consumer to … re-evaluate the transaction

and affirmatively consent.” App.403 (Add.20). But when a wrongdoer

“induce[s] consumers into recurring transactions,” the consumer lacks

the same “built-in interruptions for re-evaluation and renewed consent.”

Id. Subscriptions with recurring charges thus leave consumers uniquely

vulnerable to deception, which requires “additional protection” by rule.

Id.

IV.   The Commission Complied with Procedural
      Requirements, and Any Alleged Errors Were
      Harmless.

      A.     The Commission complied with Section 22.

      Petitioners assert that the Commission skipped a “key procedural

requirement” by failing to conduct a preliminary regulatory analysis,

Br.54 (title case removed), but the statute did not require a preliminary

regulatory analysis because the Commission estimated at the NPRM

stage that the Rule’s economic effects were below the statutory

threshold.

      Section 22 of the FTC Act provides that an NPRM for a proposed

“rule” must include a preliminary regulatory analysis containing,

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among other things, a preliminary cost-benefit analysis. 15 U.S.C.

§ 57b-3(b)(1). But that requirement does not apply to an “amendment to

a rule” unless, among other things, the Commission “estimates that the

amendment will have an annual effect on the national economy of $100

million or more.” Id. § 57b-3(a)(1)(A). This rulemaking involved an

amendment, and the Commission “preliminarily determined” in the

NPRM that the proposal would not have a $100 million “effect[] on the

national economy,” because it largely restated preexisting obligations.

App.41. Accordingly, Section 22 did not require the Commission to

prepare a preliminary regulatory analysis. Still, the Commission

requested comment on the economic effects of the proposal. App.42.

     In response to the NPRM, some comments urged that the

proposed amendments would have an annual effect exceeding $100

million. Several parties, including petitioners NCTA and IAB, requested

an informal hearing, and the presiding officer agreed with their position

after considering written submissions, expert reports, and oral

testimony. App.381-83. Given that conclusion, the Commission included

a final regulatory analysis with the final Rule. App.425-42. (Add.42-59);

see also 15 U.S.C. § 57b-3(b)(2). The process worked as designed—the



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Commission accepted the results of an adversarial process before a

neutral officer and prepared a final regulatory analysis.

      Petitioners urge that Section 18 required the Commission to issue

a preliminary regulatory analysis long after the NPRM, once the

presiding officer had issued a recommended decision finding that the

Rule would have a $100 million annual economic effect. Br.57. But

nothing in the statute requires the Commission to supply a preliminary

regulatory analysis at a later stage based on second-guessing the

Commission’s initial “estimate[].” 15 U.S.C. § 57b-3(a)(1)(A). Nor would

that make sense: It would not be “preliminary” at that stage. 20 The

informal hearing, where parties present evidence and expert testimony

about the Rule’s economic effects, had already occurred. Conducting a

preliminary regulatory analysis after that point—when a final

regulatory analysis was already underway—would be wasteful

makework.

      Congress did not envision a preliminary regulatory analysis at

that late stage. The statute refers to “the public comment period in



 20
    The presiding officer issued her decision a year after the NPRM, and
the Commission promulgated the final rule six months later. App.376.

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response to the preliminary regulatory analysis,” 15 U.S.C. § 57b-

3(b)(2)(E), but the only statutorily required public comment periods

follow the ANPRM and NPRM. And the Senate Report that petitioners

frequently cite confirms that Congress was requiring “an analysis of the

benefits and the adverse effects of a rule at the initial notice stage.” S.

Rep. 96-500 at 6 (emphasis added); see also id. at 29 (same). Congress

neither required nor anticipated a preliminary regulatory analysis if

evidence collected during the rulemaking process showed that the

Commission’s initial estimate was off. 21

      B.    Petitioners have not demonstrated prejudice.

      Even if petitioners were correct that the Commission should have

prepared a preliminary regulatory analysis after the informal hearing,

any error was harmless.

      The FTC Act, like the APA, instructs reviewing courts to “tak[e]

due account of the rule of prejudicial error.” 15 U.S.C. § 57a(e)(3);


 21
    Petitioners complain about the ANPRM, Br.58, but have not
challenged its adequacy. App.400-01 (Add.17-18). Similarly, petitioners
have forfeited their footnoted argument that the Commission “skipped a
mandatory step” by precluding disclosure of material facts during the
rulemaking proceeding, Br.58 n.8. See Falco Lime, 29 F.3d 362 at 367
n.7. In any event, petitioners identify no relevant disputed facts beyond
those designated by the neutral presiding officer. App.389 (Add.6).

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accord 5 U.S.C. § 706. This provision created “the same kind of

‘harmless-error’ rule that courts ordinarily apply in civil cases” and

serves “to prevent appellate courts from becoming impregnable citadels

of technicality.” Shinseki v. Sanders, 556 U.S. 396, 407 (2009) (cleaned

up). As the “party attacking the agency’s determination,” petitioners

bear “the burden of showing that an error is harmful.” Id. at 409.

Shinseki held that the Veterans’ Administration’s failure to provide a

disability claimant with a required notice was harmless because the

claimant had not explained “how the notice error … could have made

any difference.” Id. at 413.

     Petitioners here do not acknowledge the standard under Shinseki

for assessing prejudicial error, much less claim to satisfy it. The most

they say is that “the public never got the chance to point out that the

Commission’s cost-benefit analysis missed several significant costs” and

“overstat[ed]” the “benefits,” of the Rule, and that “the public” could not

“engage with the Commission’s cost-benefit analyses on potential

alternatives that may have achieved the same goals in a less costly

manner.” Br.56. These generalities do not carry petitioners’ burden to

explain “how the … error … could have made any difference,” Shinseki,



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556 U.S. at 413. Tweaks to the cost-benefit analysis would not have

made any difference when the low-end assessment of the Rule’s benefits

is seven times greater than the high-end assessment of its costs.

App.427 (Add.44).

     Petitioners’ argument also ignores the opportunities they did

have. After all, the NPRM included discussion of “significant

alternatives to the proposed amendments” and analysis of the

proposal’s recordkeeping and compliance costs. App.42-44. Most

significantly, the Commission held the informal hearing at the request

of petitioners NCTA and IAB (among others). As part of that process,

parties submitted briefs arguing that the Commission had

underestimated the costs and overestimated the benefits of the Rule.

App.315-16; App.354-58. That process allowed them to submit expert

reports with their own estimated costs and benefits, which the

Commission considered when promulgating the Rule. See App.354-56

(describing such evidence); see also, e.g., App.436 n.597 (Add.53),

App.439 (Add.56) (discussing expert reports). This is thus not a case

where a procedural error causes harm because “[l]osing the opportunity

to dissuade an agency from adopting a particular rule is prejudicial.”



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Citizens Telecomms. Co. of Minn., LLC v. FCC, 901 F.3d 991, 1006 (8th

Cir. 2018). Petitioners had those opportunities in spades. They do not

explain what would have been different had the Commission issued a

preliminary regulatory analysis after the NPRM and informal hearing,

when the public comment period was already closed. They thus fail to

carry their burden of demonstrating prejudicial error.

V.   Any Remedies Should Be Limited in Scope.

     Should this Court determine that any part of the Rule violates the

APA, the Court should limit any remedy to the offending provisions,

and leave “the remaining provisions … in effect.” 16 C.F.R. § 425.9

(severability provision). Moreover, the Court should tailor its judgment

to limit relief to only the prevailing parties that have demonstrated

standing.

     The FTC Act incorporates the APA’s standard of review. See 15

U.S.C. § 57a(e)(3). The APA says nothing about vacatur, however, and

“vacatur of rules was not a known administrative-law remedy … when

the APA was adopted.” John Harrison, Vacatur of Rules Under the

Administrative Procedure Act, 40 Yale J. Reg. 119, 121 (2023). There is

little indication that Congress intended to create a new and radically



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different remedy when it provided that courts should “set aside” agency

action. See Arizona v. Biden, 40 F.4th 375, 397 (6th Cir. 2022) (Sutton,

J., concurring) (“Use of the ‘setting aside’ language does not seem to tell

us one way or another whether to nullify illegal administrative action or

not to enforce it in the case with the named litigants.”).

     This Court has vacated rules under the APA in the past, see North

Dakota v. EPA, 730 F.3d 750, 773 (8th Cir. 2013), but that does not

mean that universal vacatur is required. Under Article III, a plaintiff’s

remedy must “be limited to the inadequacy that produced the injury.”

Gill v. Whitford, 585 U.S. 48, 68 (2018). That approach accords with

traditional practice by equity courts, which typically “did not provide

relief beyond the parties to the case.” Trump v. Hawaii, 585 U.S. 667,

717 (2018) (Thomas, J., concurring); see United States v. Texas, 599 U.S.

670, 693 (2023) (Gorsuch, J., concurring in the judgment)

(“[t]raditionally, when a federal court finds a remedy merited, it

provides party-specific relief”). Thus, the Court should limit any relief to

parties that have established standing. See Labrador v. Poe, 144 S. Ct.

921, 923, 925-28 (2024) (Gorsuch, J., concurring) (discussing the

significant legal and practical problems with nonparty relief).



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Petitioners do not explain why universal vacatur is necessary, Br.66-67,

nor how party-specific vacatur would fail to completely redress any

cognizable injury to the parties.

     Custom Communications appears to have standing, but the other

petitioners “lack[] associational standing to sue on behalf of unnamed

members.” Religious Sisters of Mercy v. Becerra, 55 F.4th 583, 602 (8th

Cir. 2022). The associational petitioners have submitted declarations

from some businesses subject to the Rule, see Stay App.193-215, 344-

364, 401-419, 437-456, 474-496, but have not identified their full

membership, demonstrated their authority to litigate on behalf of

unnamed members, or established that all their members agree to be

bound by any judgment. Indeed, some of petitioners’ members likely

support the Rule, as they would prefer a fairer playing field. For these

reasons, any relief should be limited—at most—to Custom

Communications and the members of associational petitioners whose

declarations establish standing.

                             CONCLUSION

     The petitions should be denied.




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     I certify that on March 14, 2025, I served the foregoing brief on

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